Case 2:09-cr-00013-JES-SPC Document 68 Filed 06/24/09 Page 1 of 8 PageID 207




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case No.: 2:09-cr-13-FtM-29SPC

MICHELLE MCKAY
_______________________________________


                            REPORT AND RECOMMENDATION

TO THE UNITED STATES DISTRICT COURT

       This matter comes before the Court on the Defendant Michelle McKay’s Motion to Suppress

Evidence (Doc. #53) filed on June 1, 2009. The Government filed its Response in Opposition (Doc.

# 59) on June 11, 2009. On June 17, 2009, a hearing on the Motion was held before the undersigned.

At the hearing, the Government was represented by Assistant United States Attorney Jesus Casas.

The Defendant was present and represented by Russell Rosenthal, Assistant United States Public

Defender. At that hearing, the Government called Florida Department of Law Enforcement Special

Agent Grant Wagner. The Defendant did not call any witnesses.

                              EVIDENCE AND TESTIMONY

Spc. Agt. Grant Wagner: (Tr. 4-46).

       Special Agent Wagner (Spc. Agt. Wagner) has served with the Florida Department of Law

Enforcement (FDLE) since September of 2000. (Tr. 4:20-21). On September 11, 2008, Spec. Agt.

Wagner participated in an investigation related to real estate fraud involving the property located at

237 Eugenia Avenue in Fort Myers, Florida (the residence). (Tr. 4:22-25; 5:1-4).

       Spc. Agt. Wagner wanted to interview the Defendant regarding the purchase of the residence.

(Tr. 5:5-8). Spec. Agt. Wagner located the Defendant’s place of employment by running a wage
Case 2:09-cr-00013-JES-SPC Document 68 Filed 06/24/09 Page 2 of 8 PageID 208




check. (Tr. 5:9-18). The result of the wage check showed the Defendant was employed by the Lee

County School Board. (Tr. 5:19-21). Spc. Agt Wagner went the to offices of the Lee County School

Board and they directed him to where the Defendant worked. (Tr. 5:19-22).

       Spc. Agt. Wagner proceed to the Southwest Florida Juvenile Detention Center, located on

Ortiz Avenue in Fort Myers. (Tr. 6:8-10). He was accompanied by Task Force Agents Rob

Leverenz, and Walter Mickey. (Tr. 6:18-20). Spc. Agt. Wagner told the staff at the front window

that he wished to speak with the Defendant. (Tr. 5:9-14). According to Spc. Agt. Wagner, the other

staff members at the Defendant’s place of employment did not know why he was there to see the

Defendant, and they did not participate in the interview in any way. (Tr. 5:23-25; 6:1-5). Spc. Agt.

Wagner and the others with him were dressed in plain clothes with no law enforcement insignias or

firearms displayed. (Tr. 6:21-25; 7:1).

       The staff at the Juvenile Detention Center took Spc. Agt. Wagner, Spc. Agts. Leverenz and

Mickey to a little recreation room so they could meet with the Defendant. (Tr. 7:2-12). After about

five (5) minutes, the Defendant arrived. (Tr. 7:13-15). Once everyone was seated, Spc. Agt. Wagner

explained to the Defendant that they wanted to discuss the purchase of the residence. (Tr. 7:16-24).

He asked the Defendant if she would like to talk about her purchase or her mortgage. (Tr. 7:22-25;

8:1). The Defendant agreed to speak with him (Tr. 8:1).

       Spc. Agt. Wagner stated the Defendant seemed a little hesitant at first. (Tr. 8:2-4). Spc. Agt.

Wagner explained to the Defendant that they were there to do an interview and that she was not

obligated to speak to them in any way and she could leave at anytime. (Tr. 8:4-8). At that point, the

Defendant agreed to speak with the agents. (Tr. 8:9-10).




                                                -2-
Case 2:09-cr-00013-JES-SPC Document 68 Filed 06/24/09 Page 3 of 8 PageID 209




       Spc. Agt. Wagner stated that he did most of the questioning which related to her purchase

of the residence and the securing of the mortgage. (Tr. 8:10-16). Specifically, Spc. Agt. Wagner

testified that he asked the Defendant about the whole transaction: how she came to purchase the

residence; who she purchased it from; how she obtained a mortgage; and what documentation she

used to obtain it. (Tr 8:14-22).

       Prior to his discussion with the Defendant, Spc. Agt. Wagner said that he had information

the Defendant purchased the residence from Patricia Gray, that she received a mortgage from

IndyMac, and there was a gift letter from her brother, Roy Denson, providing her with $37,000.00

for a down payment. (Tr. 8:23-25; 9:1-6). Spc. Agt. Wagner also testified that he reviewed

documents provided by IndyMac regarding her mortgage. (Tr. 9:2-6). Spc. Agt. Wagner showed the

gift letter to the Defendant during the interview, and asked her questions about the gift letter. (Tr.

9:7-20). Specifically, he asked the Defendant how the transaction using the gift letter came about.

(Tr. 9:18-20).

       The interview lasted about an hour and at no time did the Defendant state she wished to

terminated the interview. (Tr. 10:7-10). No one associated with the Defendant’s work, meaning a

member of the Lee County School Board, or an employer was present during the interview. (Tr.

10:12-15). Spc. Agt. Wagner never disclosed the nature of the interview to anyone and did not

disclose how he obtained her employment information. (Tr. 10:16-24). At the end of the interview,

Spc. Agt. Wagner asked if the Defendant had any questions for them, and if she had any information

about some missing documents pertaining to her down payment on the residence. (Tr. 11:3-10). The

Defendant told him she thought she had some things he was looking for, and that she would look for

the documents and let him know when she found them. (Tr. 11:3-10). The documents pertained to


                                                 -3-
Case 2:09-cr-00013-JES-SPC Document 68 Filed 06/24/09 Page 4 of 8 PageID 210




money received as a down payment from Individual Freedom Ministries Church (IFMC) used as a

down payment on the residence. (Tr. 11:13-21).

       The Defendant also provided Spc. Agt. Wagner with information regarding others involved

in the instant transaction.(Tr. 11:20-24). The Defendant talked about the others involved in the

transaction and provided Spc. Agt. Wagner with her brother, Roy Denson’s phone number.(Tr.

11:22-25; 12:1-2). Spc. Agt Wagner subsequently contacted, Denson and met with him on February

3, 2009, at his home in Fort Myers. (Tr. 12:3-11).

       During the interview with Denson, the Defendant showed up at his Fort Myers home. (Tr.

12:12-14). The Defendant walked into the house and began talking to them about the transaction

regarding the Defendant’s house. (Tr. 12:12-17). Spc. Agt. Wagner had the IFMC documents with

him that day and asked the Defendant had seen those documents. (Tr. 12:20-24). Spc. Agt. Wagner

asked if the Defendant remembered she was going to look for those documents and hand them over

to him if she found them. (Tr. 12: 20-24). The Defendant told him that she did not have those

documents. (Tr. 13:1-2). The interview ended when Ms. Gray showed up at the house and advised

both of them to stop speaking with Spc. Agt. Wagner. (Tr. 13:7-10). Prior to Gray’s arrival neither

Denson or the Defendant expressed an interest in ending the interview with Spc. Agt. Wagner. (Tr.

13:11-14).

       Spc. Agt.Wagner testified that he never threatened the Defendant and never told her she

would be arrested if she did not cooperate. (Tr. 13:18-20).

                                         DISCUSSION

       The Defendant argues the Government illegally obtained statements from the Defendant

during her interview with Spc. Agt. Wagner in violation of her Miranda rights. The Defendant


                                               -4-
Case 2:09-cr-00013-JES-SPC Document 68 Filed 06/24/09 Page 5 of 8 PageID 211




argues the interview on December 11, 2008, was clearly custodial and therefore, the Defendant

should have been read her Miranda rights prior to the interview process. The Government responds

the statements were completely voluntary and at no time was the Defendant held in custody.

       Miranda v. Arizona, requires that before a defendant in custody can be interrogated that the

Defendant be informed of: (1) the Defendant’s right to remain silent; (2) that statements can and will

be used against them in a court of law; (3) that the Defendant has the right to an attorney during

questioning; and (4) that if the Defendant cannot afford an attorney one will be appointed. 384 U.S.

436, 478-479, 86 S. Ct. 1602, 16 L. Ed. 694 (1966). The Supreme Court defined interrogation as

“express questioning or words and actions on the part of the police . . . that the police should know

are reasonably likely to elicit an incriminating response from the suspect.” Rhode Island v. Innis, 446

U.S. 291, 300-301, 100 S. Ct. 1682, 64 L. Ed. 297 (1980). Under Miranda, custody is the

depravation of freedom of action normally associated with an arrest. Id. at 444. The initial

determination of custody depends on the objective circumstances of interrogation and not on the

subjective views harbored by either the officer or the Defendant. Stansbury v. California, 511 U.S.

318, 323 (1994) (per curiam).

                 (1) Whether the Defendant was in Custody During the Interview

       The Defendant claims she was in custody while being interviewed by Spc. Agt. Wagner. The

Defendant was in a room at her place of employment with three (3) male agents and therefore, she

contends that it is not realistic to conclude she believed she was free to leave.      However, contrary

to the Defendant’s arguments, custody depends on the objective circumstances of interrogation and

not on the subjective views harbored by either the officer or the Defendant. Id.




                                                 -5-
Case 2:09-cr-00013-JES-SPC Document 68 Filed 06/24/09 Page 6 of 8 PageID 212




       Spc. Agt. Wagner testified that from the beginning, he explained to the Defendant that they

were there to do an interview and that she was not obligated to speak to them in any way and she

could leave at any time. (Tr. 8:4-8). At that point, the Defendant agreed to speak with the agents.

(Tr. 8:9-10). The interview lasted about an hour and at no time did the Defendant state she wished

to terminated the interview. (Tr. 10:7-10). No one associated with the Defendant’s work, meaning

a member of the Lee County School Board, or an employer was present during the interview. (Tr.

10:12-15). Spc. Agt. Wagner never disclosed the nature of the interview to anyone and did not

disclose how he obtained her employment information. (Tr. 10:16-24). Spc. Agt. Wagner testified

that he never threatened the Defendant and never told her she would be arrested if she did not

cooperate. (Tr. 13:18-20).

       Thus, the fact the Defendant was at her own place of employment and was informed she was

free to leave and she did not have to speak with Spc. Agt. Wagner is strong evidence that the

Defendant was not in custody and was free to leave if she had so desired. Thus, it is respectfully

recommended the Defendant was not in custody at the December 11, 2008, interview with Spc. Agt.

Wagner.

                             (2) Whether the Statements were Vouluntary

       The Defendant also argues that even if she was not in custody, any statements made by her

should be suppressed because they were not voluntary.

       Where an individual’s statement is sought to be admitted in the prosecution of a criminal

offense, there must be evidence by a preponderance that the statement was made voluntarily. Lego

v. Twomey, 404 U.S. 477, 489. 93 S. Ct. 619, 627, 30 L. Ed. 2d 618 (1972); U.S. v Thompson, 422

F. 3d 1285, 1295 (11th Cir. 2005) (quoting Braham v. U.S., 168 U.S. 532, 542 (1897)). The


                                                -6-
Case 2:09-cr-00013-JES-SPC Document 68 Filed 06/24/09 Page 7 of 8 PageID 213




standard used for determining if a statement was voluntarily made is whether, taking into account

the totality of the circumstances, the statement was “the product of a free and deliberate choice rather

than intimidation, coercion or deception.” Colorado v. Connelly, 479 U.S. 157, 170, 107 S, Ct. 515,

93 L. Ed. 2d 473 (1986). The focus of the inquiry into a statement’s voluntariness is whether the

defendant was coerced by the government into making the statement. U.S. v. Mendoza-Cecelia, 963

F.2d 1467, 1475 (11th Cir. 1992). Courts in the Eleventh Circuit have followed the Braham analysis

of coercive governmental action to include . . . any sort of threats or violence, direct or implied

promises, however, slight or any improper influence.” 168 U.S. at 542-543; Thompson, 422 F. 3d

at 1295; Leon v. Wainwright, 734 F. 2d 770, 772 (11th Cir. 1984). Although the prosecution has

the burden of proof, “[a]bsent police conduct causally related to the confession there is . . . no basis

for concluding that any state actor has deprived a criminal defendant of the due process of law.

Thompson, 422 F. 3d at 1296 (citing Connelly, 479 U.S. at 164).

       Here, it is clear that there was no coercion, threats, or promises made to the Defendant to

force her or entice her into making statements. As noted above, Spc. Agt. Wagner testified that from

the beginning, he explained to the Defendant that they were there to do an interview and that she was

not obligated to speak to them in any way and she could leave at any time. (Tr. 8:4-8). At that point,

the Defendant agreed to speak with the agents. (Tr. 8:9-10). The interview lasted about an hour and

at no time did the Defendant state she wished to terminated the interview. (Tr. 10:7-10). No one

associated with the Defendant’s work, meaning a member of the Lee County School Board, or an

employer was present during the interview. (Tr. 10:12-15). Spc. Agt. Wagner never disclosed the

nature of the interview to anyone and did not disclose how he obtained her employment information.




                                                 -7-
Case 2:09-cr-00013-JES-SPC Document 68 Filed 06/24/09 Page 8 of 8 PageID 214




(Tr. 10:16-24). Spc. Agt. Wagner testified that he never threatened the Defendant and never told her

she would be arrested if she did not cooperate. (Tr. 13:18-20).

       The fact that the Defendant and Spc. Agt. Wagner met again by chance at her brother

Denson’s house and continued to talk is a strong indicator to the Court that the Defendant was not

coerced or threatened in any way into making any statements to Spc. Agt. Wagner during the first

interview. Ms. Gray entered the picture at Denson’s house that the Defendant refused to speak with

the Spc. Agt. Wagner. Thus, it is respectfully recommended that the Defendant’s statements made

at the December 11, 2008, interview were freely, knowing and voluntarily made.

       Accordingly, it is now

       RESPECTFULLY RECOMMENDED:

       The Defendant Michelle McKay’s Motion to Suppress Evidence (Doc. #53) should be

DENIED.

       Failure to file written objections to the proposed findings and recommendations contained

in this report within ten (10) days from the date of its filing shall bar an aggrieved party from

attacking the factual findings on appeal.

       Respectfully recommended at Fort Myers, Florida, this      24th      day of June, 2009.




Copies: All Parties of Record


                                                -8-
